                                                                     Case 3:07-cv-05944-JST Document 2937 Filed 10/22/14 Page 1 of 2



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                                                                8   BEST BUY CO., INC.; BEST BUY PURCHASING LLC; BEST
                                                                    BUY ENTERPRISE SERVICES, INC.; BEST BUY STORES,
                                                                9   L.P.; BESTBUY.COM, LLC; MAGNOLIA HI-FI, LLC.
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                                                                                                 UNITED STATES DISTRICT COURT
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                                               L OS A NGELES




                                                                                               NORTHERN DISTRICT OF CALIFORNIA
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                                                                                                       SAN FRANCISCO DIVISION
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                                                               16   IN RE: CATHODE RAY TUBE (CRT)                   Master File No. 3:07-cv-05944-SC
                                                                    ANTITRUST LITIGATION                            MDL No. 1917
                                                               17
                                                                                                                    The Honorable Samuel Conti
                                                               18   This Document Relates to:
                                                                                                                    [PROPOSED] ORDER TO EXTEND
                                                               19   ALL ACTIONS                                     FACT DISCOVERY DEADLINE AS
                                                                                                                    AGAINST THE PHILIPS
                                                               20                                                   DEFENDANTS REGARDING
                                                                                                                    CERTAIN OWNERSHIP AND
                                                               21                                                   CONTROL ISSUES
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                                                                    Master Case No. 3:07-cv-05944-SC                        PROPOSED ORDER TO EXTEND FACT
                                                                                                                                      DISCOVERY DEADLINE
                                                                     Case 3:07-cv-05944-JST Document 2937 Filed 10/22/14 Page 2 of 2



                                                                1           Pursuant to the stipulation of the parties, and good cause appearing, the deadline to
                                                                2   complete fact discovery is extended up to and including November 5, 2014 with respect to
                                                                3   Defendants Koninklijke Philips N.V. and Philips Electronics North America Corporation
                                                                4   regarding (a) completion of the Rule 30(b)(6) Deposition regarding ownership and control issues,
                                                                5   and (b) moving to compel discovery related to the Written Discovery and the Rule 30(b)(6)

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                                                                6   Deposition regarding ownership and control issues.
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                                                                7           IT IS SO ORDERED.                                      TA




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R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




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                                                                9          October 22, 2014
                                                                    DATED: ____________________                                    APP
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                                                                                                                 SAMUEL CONTI
                                                               10                                                United States District Court Judge
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                                                                    Master Case No. 3:07-cv-05944-SC                                   PROPOSED ORDER TO EXTEND FACT
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                                                                                                                                                 DISCOVERY DEADLINE
